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                EXHIBIT A
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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ARIZONA


United States of America,                             ) No. 18-cr-422-PHX-SMB
                                                      )
                       Plaintiff                      )      PROPOSED
                                                      )      JUROR QUESTIONNAIRE
                                                      )
                                                      )
                       v.                             )
                                                      )
Michael Lacey (1), James Larkin (2),                  )
Scott Spear (3), John “Jed” Brunst (4),               )
Andrew Padilla (5), Joye Vaught (6).                  )
                                                      )
                       Defendants                     )


                                   JUROR QUESTIONNAIRE

                                         INSTRUCTIONS

This questionnaire is designed to obtain information regarding your ability to serve as a fair and
impartial juror in this case. Answering these questions will substantially shorten the jury selection
process and will avoid the necessity of asking each prospective juror every one of these questions
in open court. If there is any reason why you might not be able to give both sides and all parties
a fair trial in this case, it is important that you say so.

The answers you give here will become part of the Court’s public record and will be used by the
judge and attorneys to assist in selecting a qualified jury. Neither your identities nor your answers
will be released to the general public or the media. It is not our intention to invade anyone’s
privacy, but to help select the best possible jury for this case. Therefore, if any question calls for
a response that you wish to remain private, please mark such a question with an asterisk* and
answer it on the separate page for private answers (page 25), which will be separated and sealed.
If any follow-up is required, a private hearing with the judge and attorneys may be conducted to
protect your privacy.

Please answer every question fully and completely. If a question does not apply to you, please
indicate that it is not applicable by writing “N/A,” rather than leaving the question blank. If you
do not understand the question, please write “do not understand” in the space provided for the
answer.




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Please keep in mind that there are no right or wrong answers. However, we require complete and
truthful answers, so that both the prosecution and the defense will have a meaningful opportunity
to select a fair and impartial jury. If you need additional space or want to make further comments,
please use the explanation sheet attached (page 22). DO NOT WRITE ON THE BACK OF ANY
PAGE.

Your answers must be printed, checked, or circled in blue or black ink. Please write clearly so that
your answers are easy to read. After filling out the questionnaire, please review it to make sure
you have answered all questions. Please write your juror number at the bottom of each page in the
space provided.

You are answering the questions in this questionnaire under oath as a prospective juror. You have
a legal obligation to tell the truth. It is very important to the jury selection process that your
answers be your own. Do not discuss the contents of this questionnaire or your answers with
anyone, including your family, friends, coworkers, or other prospective jurors.

You are also ordered that, FROM THIS TIME ON, YOU ARE NOT TO RESEARCH THIS CASE
ON THE INTERNET, READ ANYTHING ABOUT THE CASE, DISCUSS THIS CASE WITH
ANYONE ELSE, WATCH ANYTHING ABOUT THE CASE, OR LISTEN TO ANYTHING
ABOUT THIS CASE OUTSIDE OF THE COURTROOM. This Order will apply from now until
the end of the trial and your service as a juror.

Please remember to write your Juror Number on each page and date and sign the Juror Oath at the
end of the questionnaire.

Please return the questionnaire to the Jury Clerk or my chambers by no later than April 17, 2020,
and you will be further instructed on the date you will return to Court.

Thank you for your cooperation.


                                      __________________________________
                                      HONORABLE SUSAN M. BRNOVICH
                                      United State District Judge




                                                2                      Juror Number: ________


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                        PLEASE GIVE COMPLETE ANSWERS UNDER OATH
1.       Jury service is one of the highest duties and privileges of a citizen. The participation of citizens
         like you is essential to the proper administration of justice. This trial will begin May 5, 2020,
         and is expected to last through July 31, 2020. Trial will take place each day from 9:00 A.M. to
         4:30 P.M., Tuesday through Friday. There will be a break for lunch, as well as a short
         mid-morning and mid-afternoon break. There will be no trial on Mondays. The Court
         recognizes that not everyone can serve on a case of this length. However, mere inconvenience
         or the usual financial hardships of jury service will not be enough to excuse you. You must
         show that service in this case would cause an unacceptable amount of personal hardship for
         the court to consider excusing you. Keep in mind that if you are unable to serve in this trial,
         you could be summoned for another trial later this year (city, state, or federal).
         Would the length of the trial create an undue hardship?  YES  NO
         If YES, which of the following applies to you: (Check all that apply.)
         a.  Financial hardship and not paid during jury duty
                  Sole provider of income for household
                  Self-employed and only paid if working
                  Unemployed and actively looking for work
         b.  Paid vacation planned during the trial dates
                 Dates from __________ to __________
                 Destination:
                 Have you purchased tickets?  YES  NO
         c.  Scheduled medical surgery or appointments during the trial dates that cannot be
             rescheduled
                 Dates:
         d.  Am a student attending classes during the trial dates
                 Dates/Times of classes:
         e.  Have dependent daytime child or elder care responsibility with no substitute
                 Relationship:
                 Ages of dependent:
         f.  Other Hardship
             Please explain in detail:


2.       Do you feel that you understand and can communicate in English well enough to fully perform
         your duties as a juror?  YES  NO
         If NO, please explain:


3.       Do you have any medical, mental or physical conditions (including any caused by medications)
         that would make it difficult for you to sit as a juror or that might interfere with your ability to
         concentrate, understand, and consider the evidence in this case?  YES  NO
             If YES, please explain:

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                                                BACKGROUND

4.        Last Name: __________________________             First Name: __________________________
          Middle Name: ____________________
5.        Gender: ___________         Age: ___________      Date of birth:
6.        Place of Birth: ____________________           Where did you grow up? _________________
7.        Race/Ethnicity (check all that apply): [OPTIONAL]
              Caucasian             Hispanic/Latino        African American/Black
              Asian                 South Asian (Indian Subcontinent)
              Native Hawaiian/Pacific Islander              Native American/Alaska Native
              Other (please specify)
8.        Residence: County: ______________________ City:
          Zip code: _____________           Years there: ________            Years in Arizona: _________


                                        OCCUPATION/EMPLOYMENT

9.        Current employment status: (Check all that apply.)
           Employed full-time        Employed part-time       Retired       Homemaker      Student
           Disabled        Unemployed, looking for work       Unemployed, not looking for work
10.       What is your present:
          a. Job Title:
          b. Employer:
          c. Years there:
          d. Your duties
          e. Are you a supervisor?  YES         NO
                  If YES, how many people do you supervise? __________
11.       What other jobs have you held in the past? (If you are unemployed, retired or disabled, list
          your prior occupations.)




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12.       Have you or anyone close to you ever worked for a governmental or public agency?
           YES  NO
          If YES:
          Who:
          Which agency(ies):
          In what years? ____________________________________________

13.       Have you, a family member, or your spouse/partner ever owned or run a business?
           YES  NO
          If YES, please explain:


14.       Have you or someone close to you ever worked for a company or person involved in, or
          accused of being involved in, illegal activity?  YES  NO
          If YES, please explain:


                                                  FAMILY
15.       What is your marital status?
           Single and Never Married
           Currently Married and have been for ______ years
           Currently living with partner for ______ years
           Divorced, but married in the past        Separated
           Widowed/widower for ______ years
           Other __________________________________
16.       Is your spouse/partner employed?  Yes  No
          a. If YES, what is his/her current employer and job title?


          b. If NO, what was your spouse/partner’s last job?
          c. What other kinds of jobs has your spouse/partner had?


17.       List any adults who live in your home, including their relationship to you and their occupation:
          Relationship: _______________________ Occupation: ___________________________
          Relationship: _______________________ Occupation: ___________________________
          Relationship: _______________________ Occupation: ___________________________

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18.       If you have children, stepchildren or foster children please state:
          Gender                Live w/ you?             Age         Education            Occupation
          ___________________________________________________________________________
          ___________________________________________________________________________
          ___________________________________________________________________________


                                         EDUCATION AND TRAINING
19.       What is your highest level of education completed? (check one)
           Less than high school (Grade: ______)        High school       Technical school
           Some college classes        2-year Associate’s degree    4-year Bachelor’s degree
           Master’s degree             Doctoral degree
           Other (please explain): ______________________________________________________
          a. List any degrees, licenses, or certifications you have:

          b. Are you currently attending school?  YES  NO                 If YES, area of study?

          c. Future educational goals, if any:
20.       Have you, a family member, or someone close to you ever studied, received training in, or
          been employed in, any of the following fields? (Answer for each.)

            a.     Law, any legal field, or the courts              Self    Someone else      No
            b.     Law enforcement or policing                      Self    Someone else      No
            c.     Criminal justice or administration of justice    Self    Someone else      No
            d.     Medicine                                         Self    Someone else      No
            e.     Mental health, psychology, or social work        Self    Someone else      No
            f.     Women’s studies and/or women’s rights            Self    Someone else      No
            g.     Victim’s rights                                  Self    Someone else      No
            h.     Sexual abuse and/or child exploitation           Self    Someone else      No
            i.     Identifying and preventing prostitution          Self    Someone else      No
            j.     Identifying and preventing sex trafficking       Self    Someone else      No
            k.     Online social media, web site
                   development/content, or Google                   Self    Someone else      No
                   analytics/search engine optimization

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            l.     Advertising or marketing                      Self    Someone else       No
            m. Regulatory compliance                             Self    Someone else       No
            n.     Ministry                                      Self    Someone else       No
            o.     Banking or Accounting                         Self    Someone else       No
            p.     Credit processing or payment platforms for                                 No
                                                                 Self    Someone else
                   cryptocurrencies (for example, GoCoin)
            q.     Computer/Information technology               Self    Someone else       No

          If you checked SELF or SOMEONE ELSE to any, please describe:




21.       Do you, any members of your family, or close friends have any experience using or investing
          in virtual currencies or cryptocurrencies, for example, Bitcoin, Bitcoin Cash (BTC), Litecoin,
          or Ethereum?  YES  NO
          If YES, please explain:


                                              MILITARY SERVICE
22.      Have you, a spouse, or family member ever served in the military/armed forces, including the
         Reserves, National Guard, or ROTC?  YES  NO
         If YES:
         Who        Branch           Duties           Dates of        Combat       Place of Service
                                                      Service           (Y/N)




23.       Were you ever involved in any way with military law enforcement, non-judicial punishment,
          military investigation, court martial, or administrative board or hearings?  YES  NO
          If YES, please explain:
          ___________________________________________________________________________
          ___________________________________________________________________________




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                                                 PERSONAL
24.       Please list all groups or organizations in which you participate or are a member. For example:
          civic, religious, professional, union, fraternal, educational, political, social justice, charity,
          neighborhood, or self-help groups, etc.:



25.       Have you or someone close to you ever: (a) participated in a class or discussion group,
          (b) written a blog or reported, (c) watched a film or documentary, (d) read a book or saw
          information on a website or social media, or (e) heard or read news concerning any of the
          following:
            a. The #MeToo Movement?  YES  NO
            b. Prostitution?                 YES  NO
            c. Sex trafficking?              YES  NO
            d. Human trafficking?            YES  NO
            e. Child exploitation?           YES  NO
                If YES to any, please explain:




26.       What are your hobbies, major interests, recreational pastimes, and spare-time activities?



27.       Do you have any strong feelings about tattoos or people who have tattoos?  YES           NO
          If YES, please explain:




                       NEWS, SOCIAL MEDIA, AND ELECTRONIC COMMUNICATIONS
28.       From what sources do you generally get your news? (check all that apply):
           Online newspapers  Hard copy newspapers              Television           Radio
           Magazines               Internet                     Social media         Twitter
           Friends & Family        I never follow the news
           Other source (please specify):
          a. Please list the name of the source(s) you’ve indicated above (for example, The Arizona
             Republic/AzCentral, Phoenix New Times, New York Times, Washington Post, Village
             Voice, Daily News, Huffington Post, Frontline, FOX, MSNBC, CNN, NPR, any radio talk
             shows, social media, particular websites or chat rooms, etc.):


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29.       In general, how accurate do you think the reporting is:
          a. In the news media? (check one)
           Very accurate         Somewhat accurate        Somewhat inaccurate    Very inaccurate
          b. On social media? (check one)
           Very accurate         Somewhat accurate        Somewhat inaccurate    Very inaccurate

30.       What type of books do you like to read?
          a. Are you currently reading a book?  YES  NO
                  If YES, what are you reading?
31.       Have you ever followed any criminal case(s) in the media?  YES  NO
          a. If YES, which case(s)?

          b. Why?

          c. What opinion did you form about the criminal justice system as a result of the case(s)?



32.       Do you watch television shows depicting law enforcement or the courts/judicial system (for
          example, CSI, Law & Order, NCIS, America’s Most Wanted, 48 HOURS, Dateline, 20/20,
          Forensic Files, Cold Case Files, American Justice, or any crime documentary series, etc.)?
           YES  NO If YES, which shows do you watch and how often?

33.       What social media sites do you use? (Check all that apply)
           Facebook         Twitter       Instagram  Snapchat  TicToc
           LinkedIn         Pinterest  Reddit           Other:
          a. Do you blog or any use any social media/networking site to discuss political and/or social
             justice issues?  YES  NO
             If YES, please explain:




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                                      PRIOR JUROR EXPERIENCE

34.       Have you served on a jury in the past?  YES  NO

            When          Where         Civil or       Nature of Case (DUI,          Did the jury reach
                                       Criminal?      assault, personal injury,       a verdict? If yes,
                                                     business dispute, contract,        what was the
                                                                 etc.)                    verdict?
  1.
  2.
  3.
  4.
  5.

      If you ever served on a jury:

      a. Have you ever been the foreperson of a jury?
          YES, criminal case      YES, civil case         NO
      b. Do you feel that the justice system worked properly and fairly in each of those cases?
          YES  NO                     Please explain:

      c. Have you ever been on a jury in a criminal case that failed to reach a verdict?
           YES       NO
          If YES and without indicating what your position was, were you in the majority or minority
          of the numeric split?
           Majority          Minority
          How do you feel about that experience?


35.       Have you ever served on a GRAND JURY?  YES  NO
          a. Were you a foreperson?  YES         NO
          b. If an indictment was issued, what were the charges?




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                                          LAW ENFORCEMENT
36.       Have you or anyone close to you had training, experience, applied for employment,
          volunteered, or been employed by any law enforcement agency? (“Law Enforcement” includes
          the Police or Sheriff’s Department, Highway Patrol, Military Police, District Attorney’s Office,
          City Attorney’s Office, Attorney General’s Office, US Attorney’s Office, Internal Revenue
          Service, Department of Corrections, Parole, Probation, FBI, DEA, US Postal Inspection
          Service, Department of Homeland Security, private security guard, etc.)  YES  NO
          If YES, which agency and, if not you, what is the person’s relationship to you?



37.       Do you have any strong feelings, whether positive or negative, regarding law enforcement?
           YES, POSITIVE          YES, NEGATIVE                NO
          If YES, please explain:



                                  THE CRIMINAL JUSTICE SYSTEM

38.       Have you or anyone close to you ever been ARRESTED, CHARGED, CONVICTED and/or
          INCARCERATED for a crime?
           YES, Arrested  YES, Charged  YES, Convicted  YES, Incarcerated  NO
          a. Who?
          b. What crime(s)?
          c. When?
          d. What Happened?


          e. Was there a trial?  YES  NO
          f. How do you feel law enforcement handled the situation?


          g. If the matter went to court, how do you feel about how the court process was conducted?




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39.       Have you or anyone close to you ever been the VICTIM of a crime, or any violent act by
          someone, including domestic violence, child, elder or partner abuse, or sexual abuse (either as
          a child or an adult), regardless of whether it was reported to law enforcement authorities or
          not?  YES  NO
          a. If YES, who?
          b. What crime(s)?
          c. When?
          d. Was anyone caught?  YES  NO
          e. Was there a trial?  YES  NO
          f. If YES, did you attend the trial?  YES  NO
          g. If reported, how do you feel about the response of law enforcement in that case?


          h. If the matter went to court, how do you feel about how the court process was conducted?




40.       Have you or anyone close to you ever been a WITNESS to a crime or any violent act, including
          domestic violence, regardless of whether it was reported to law enforcement authorities or not?
           YES  NO
          If YES, who?
          a. What crime(s) or act(s)?
          b. When?
          c. Was anyone caught?  YES  NO               DON’T KNOW
          d. Was there a trial?  YES  NO
          e. If YES, did you attend the trial?  YES  NO
          f. If reported, how do you feel about the response of law enforcement in that case?


          g. If the matter went to court, how do you feel about how the court process was conducted?


41.       Have you, any member of your family, or close friend had any administrative problems with
          the United States government (for example, audited by the IRS; immigration proceedings;
          Social Security; defaulted on a government loan)?  YES  NO
          If YES, please explain the issue and how it resolved:


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42.       Do you know any lawyers, judges, bailiffs, or court staff?  YES  NO
          If YES, who do you know, what position do they have, and what do they do?



43.       Have you or someone close to you ever been a Plaintiff, Defendant, or Witness in a court case?
           YES, Plaintiff       YES, Defendant           YES, Witness           NO
          If YES, please explain the type of case and what happened:


44.       Have you or someone you know ever testified in a court proceeding or deposition?
           YES  NO
          If YES, please explain the type of case and your (or their) role:


45.       Have you had any interaction with any prosecutors, county attorneys, the U.S. Attorney’s
          Office, or the Department of Justice (including the family support unit or consumer affairs
          department)?  YES  NO If YES, please explain:
          ___________________________________________________________________________


46.       In general, what are your feelings about the criminal justice system?



47.       For each of the following, please rate how much you agree or disagree with each statement:
          a. A defendant in a criminal trial should be required to prove his or her innocence.
              Agree Strongly  Agree Somewhat  Disagree Somewhat  Disagree Strongly
             Please explain:

          b. I would expect a person charged with serious crimes to testify in their own defense.
              Agree Strongly  Agree Somewhat  Disagree Somewhat  Disagree Strongly
             Please explain:

          c. The criminal justice system makes it too hard for the prosecutors to convict people accused
             of crimes.
              Agree Strongly  Agree Somewhat  Disagree Somewhat  Disagree Strongly
             Please explain:




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48.       If you came to the conclusion that the prosecution had not proven a defendant guilty beyond
          a reasonable doubt, but most of the other jurors believed the defendant was guilty, would you
          change your mind because you were in the minority?
           YES  NO
          Please explain:




                                               THE INTERNET
49.       In general, what are your feelings about the laws and regulations affecting the Internet,
          including the publishing of content posted by users of the websites?



50.       What are your feelings about whether websites (such as YouTube, Facebook, Twitter, Google,
          and Instagram, among others) should be responsible for the content posted by users of the
          websites?



51.       Have you or anyone you know ever seen, read, or heard about craigslist.org?
           YES  NO              If YES:
          a. Have you or anyone you know ever used the personals/dating sections of craiglist.org?
              YES  NO
                  If YES, please explain:

          b. Have you or anyone you know ever used the “erotic services” section of craiglist.org?
              YES  NO
                  If YES, please explain:

52.       Have you or anyone you know ever seen, read, or heard about Backpage.com?
           YES  NO              If YES:
          a. Have you or anyone you know ever used the personals/dating sections of Backpage.com?
              YES  NO
                  If YES, please explain:




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          b. Have you or anyone you know ever used the “adult” section of Backpage.com?
              YES  NO
                  If YES, please explain:


53.       Have you or anyone you know ever seen, read, used or heard about an adult-oriented dating or
          connection service (for example, Tinder, Bumble, Hinge, Ship (getshipped), OkCupid,
          PlentyofFish,   AdultFriendFinder,   iHookup,       AshleyMadison,       What’sYourPrice?,
          NoStringsAttached, BeNaughty, GetItOn, MaritalAffair, Alt, Grindr, Pure, Match, 99Flavors)?
           YES  NO
          If YES, please explain and identify which ones:


                                      ADULT-ORIENTED ENTERTAINMENT
54.       In general, what are your feelings about the laws and regulations affecting the activities of
          people working in adult-oriented entertainment (for example, businesses providing exotic/nude
          dancers/strippers, phone sex, live web cams, adult magazines, adult films, dominatrixes,
          escorts, “Asian massages,” legalized prostitution in rural Nevada Counties, etc.)?



55.       Do you have particularly strong feelings about, or have you or someone close to you ever been
          affected by, any adult-oriented entertainment activities (for example, businesses providing
          exotic/nude dancers/strippers, phone sex, live web cams, adult magazines, adult films,
          dominatrixes, escorts, “Asian massages,” legalized prostitution in rural Nevada counties, etc.)?
           YES  NO
          If YES, please explain:


56.       In general, what are your feelings about the lawfulness of advertising adult-oriented
          entertainment services?


57.       Do you have particularly strong feelings about, or have you or someone close to you ever been
          affected by, an escort or by being an escort?
           YES  NO
          If YES, please explain:




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58.       In general, what are your feelings about the lawfulness of adult escort services?



59.       In general, what are your feelings about prostitution laws?



60.       Do you have particularly strong feelings about, or have you or someone close to you ever been
          affected by, prostitution or the purchase or sale of a sex act for money?
           YES  NO
          If YES, please explain:



                     STATEMENT OF THE CASE AND PRETRIAL PUBLICITY

      Six individuals (Michael Lacey, James Larkin, Scott Spear, John “Jed” Brunst, Andrew Padilla,
      and Joye Vaught) (“Defendants”) have been charged in a superseding indictment with various
      crimes allegedly arising from advertisements posted on a classified advertising website operated
      by Backpage.com, LLC.

      Defendants have pleaded not guilty to all charges and are presumed innocent. The United
      States has the burden of proving an individual guilty beyond a reasonable doubt.
61.       Does the fact that the federal government has brought this case and charged the defendants
          with various crimes lead you to believe that the defendants are probably guilty?
           YES  NO
          If YES, please explain:


62.       Have you seen or heard anything about this case, or the issues or people it involves, from any
          source (for example, newspapers, magazines, websites or social media, television, radio
          programs, personal knowledge, and/or word of mouth)?
           YES  NO
          If YES, please describe what you have read or heard:


          a. Approximate number of articles, reports or conversations:
          b. Approximate date(s) you heard or saw something:




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          c. As a result of such information, publicity, or coverage, do you have any feelings, or have
             you formed any impressions, opinions or beliefs about the case, one way or the other?
              YES  NO
             If YES, please explain:


63.       The nature of some of the charges that have been brought in this case involve claims of
          facilitating business enterprises involved in prostitution and money laundering. Is there
          anything about these subjects that would make it difficult for you to be fair and impartial in
          this case?  YES  NO
          If YES, please explain:


64.       Will you be able to pay attention to the evidence, and deliberate with your fellow jurors on the
          evidence, knowing that the evidence will include, and the deliberations may require, discussion
          of adult-oriented entertainment activities and topics of a sexual nature (for example, businesses
          providing exotic/nude dancers/strippers, phone sex, live web cams, adult magazines, adult
          films, dominatrixes, escorts, “Asian massages,” etc.), prostitution and sexual activities, vulgar
          language, and sexually provocative images?
           YES  NO  NOT SURE
          If NO or NOT SURE, please explain:


                                                   WITNESSES

65.       Part of your role as a juror is to determine the facts of the case, including evaluating the
          credibility or believability of witnesses. Do you believe you can determine whether a person
          is credible or not?  YES  NO
          Please explain:

66.       Would you have any difficulty applying the same standards to evaluate the credibility of every
          witness regardless of who that witness is?  YES  NO If YES, please explain:



67.       Would you prejudge a witness or the case, even in the slightest way, if one or more of the
          parties, attorneys, or witnesses comes from a particular national, racial or religious group, or
          has a lifestyle different than your own?
           YES  NO Please explain:




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68.       Would you believe or disbelieve the testimony of someone working in law enforcement solely
          because he/she is in law enforcement?  YES, Believe  YES, Disbelieve  NO
          Please explain:


69.       Would you believe or disbelieve the testimony of someone working in or with a governmental
          agency solely because he/she is in government?  YES, Believe  YES, Disbelieve  NO
          Please explain:


                                          JURY INSTRUCTIONS
70.       If the Judge gives you an instruction on the law that differs from a belief or opinion you have,
          can you set aside your own belief or opinion, and follow the law as the Judge instructs?
           YES  NO  NOT SURE
          If NO or NOT SURE, please explain:


71.       A defendant in a criminal case is presumed to be innocent and has no burden to prove that he
          is not guilty. This presumption of innocence requires the Government to prove each element
          of a crime, special circumstance, or special allegation beyond a reasonable doubt.
          a. Do you understand this principle of law?          YES  NO
          b. Do you agree with this principle of law?          YES  NO
          c. Will you follow this principle of law?            YES  NO
          Please explain:


72.       A defendant in a criminal case is not required to present any evidence to prove that he is not
          guilty. The burden of proof is placed on the prosecution, and the prosecution must prove its
          claims beyond a reasonable doubt.
          d. Do you understand this principle of law?         YES  NO
          e. Do you agree with this principle of law?         YES  NO
          f. Will you follow this principle of law?           YES  NO
          Please explain:


73.       The government brought charges against six defendants. The defendants are being tried
          together because the government has charged that they acted together in committing various
          crimes. You are not to think of the defendants as a group and you must consider whether the
          prosecution has proved its claims beyond a reasonable doubt with respect to each defendant.
          g. Do you understand this principle of law?         YES  NO
          h. Do you agree with this principle of law?         YES  NO

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          i. Will you follow this principle of law?              YES       NO
          Please explain:


74.       A defendant has the constitutional right not to testify in a criminal trial and that decision cannot
          be held against the defendant in any way.
          a. Do you understand this principle of law?            YES  NO
          b. Do you agree with this principle of law?            YES  NO
          c. Will you follow this principle of law?              YES  NO
          Please explain:


                                        CONCLUDING QUESTIONS
75.       Understanding that jury service is an honor as well as a duty, is there any reason why you
          would prefer not to serve as a juror in this case? This could include any situation at home or
          on the job, issues in your life and/or stressful or anxiety-producing life events, such as divorce,
          health, abuse, bankruptcy, moving, etc.
           YES  NO
          If YES, please explain:



76.       Are you willing to serve as a juror on this case?  YES  NO
          Please explain: ______________________________________________________________


77.       As a result of answering this questionnaire, have you now formed an opinion about this case?
           YES  NO
          Please explain: ______________________________________________________________


78.       Do you have any religious, philosophical, spiritual, or political views that may affect your
          service as a juror, or your ability to render a verdict in this case?  YES  NO
          If YES, please explain:

79.       Do you know anyone else who has been called to jury duty on the current case?
           YES  NO
          If YES, please state the person(s)’ name(s) and how you know him/her/them:




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80.       Is there any other information you feel the judge or attorneys should know about you, including
          any reason why either side (the government or the defendants) may not want you to serve as a
          juror in this case?
           YES  NO If YES, please explain:




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                                         CAUTIONARY ADMONITION
      Our system of justice requires that trials be conducted in open court with the parties presenting
      evidence and the judge deciding the law that applies to the case. It would be unfair to the parties
      if you were to receive additional information from any other source because that information may
      be unreliable or irrelevant and the parties will not have had the opportunity to examine and respond
      to it. Your verdict must be based only on the evidence presented during trial in this court and the
      law as provided by the judge. Do not talk about the case or about any of the people or any
      subject involved in the case with anyone, not even your family, friends, spiritual advisors, or
      therapists. Do not share information about the case in writing, by email, by telephone, on the
      Internet, or by any other means of communication. You must not talk about these things
      with other potential jurors either, until you begin deliberating. No tweeting, no Facebook,
      no social media of any kind regarding this case, the people, or the subjects involved.

      Do not read, listen to, or watch any news report or commentary about the case from any source.

      Do not investigate the facts or the law or do any research regarding this case.

      Do not speak to a prosecutor, defendant, witness, lawyer, or anyone associated with them. Do not
      listen to anyone who tries to talk to you about the case or about any of the people or subjects
      involved in it. If someone asks you about the case, tell him or her that you cannot discuss it. If that
      person keeps talking to you about the case, you must end the conversation. If you receive any
      information about this case from any source outside of the trial, even unintentionally, do not share
      that information with any other juror. If you do receive such information, or if anyone tries to
      influence you or any juror, you must immediately inform the court.

81.       Do you understand this Court Order?  Yes  No
          a. Do you promise that you will faithfully follow this instruction?  Yes         No
          If NO, please explain:




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                                   EXPLANATION SHEET
If you were unable to sufficiently answer any question in the spaces provided, please use this area
to complete your answer. Please indicate the question number(s) from the questionnaire associated
with any comment(s) you make below.
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                                       KNOWLEDGE OF PARTICIPANTS
82.       For each of the following participants in the case, indicate whether you or someone close to
          you knows, recognizes, or have heard of them before today, by circling the name:

            The Honorable Susan Brnovich                Thomas Bienert, Jr. (Defense Attorney)
            Court Staff and Bailiffs                    Whitney Bernstein (Defense Attorney)

            Michael Lacey (Defendant)                   Joy Bertrand (Defense Attorney)

            James Larkin (Defendant)                    Paul Cambria (Defense Attorney)

            Scott Spear (Defendant)                     David Eisenberg (Defense Attorney)

            John “Jed” Brunst (Defendant)               Bruce Feder (Defense Attorney)

            Andrew Padilla (Defendant)                  Gary Lincenberg (Defense Attorney)

            Joye Vaught (Defendant)                     Erin McCampbell Paris (Defense Attorney)

            Daniel Boyle (Assistant U.S. Attorney)      Ariel Neuman (Defense Attorney)

            Peter Kozinets (Assistant U.S. Attorney)    Gopi Panchapakesan (Defense Attorney)
            John Kucera (Special Assistant U.S.
            Attorney)
            Reginald Jones (Senior Trial Attorney,
            DOJ)
            Margaret Perlmeter (Assistant U.S.
            Attorney)
            Kevin Rapp (Assistant U.S. Attorney)
            Richard Robinson (IRS Special Agent)
            Andrew Stone (Assistant U.S. Attorney)


          If YES to any, please explain:




                                                       23                  Juror Number: ________


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                               POTENTIAL WITNESSES AND ENTITIES
83.       Please review this list of potential witnesses and entities and indicate if you know or recognize
          someone, by circling the name.




          If “yes” to any, please explain:




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                                  PRIVATE ANSWER SHEET
If you wish to give a private answer to any very personal questions, please use this area to complete
your answer. Please indicate the question number(s) from the questionnaire associated with any
comment(s) you make below. Your answer will be separated and sealed. Juror Number required.
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Note: This page will be removed from the Questionnaire and sealed in the Court file as
a confidential record.



                                                 25                     Juror Number: ________


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                                   VERIFICATION

“I DECLARE UNDER PENALTY OF PERJURY THAT THE ANSWERS TO EACH QUESTION
ARE TRUE, CORRECT, AND COMPLETE, AND THAT I HAVE NOT RECEIVED ANY
ASSISTANCE FROM ANY OTHER PERSON IN COMPLETING THIS QUESTIONNAIRE.”



DATED: _____________________       Phoenix, Arizona




JUROR NUMBER: _____________________


_________________________________              ______________________________
  (Print Name)                                 (Signature)




Note: This page will be removed from the Questionnaire and sealed in the Court file as a
confidential record.




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